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THE FIERST LAW GROUP, P.C.
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516.586.4221                                                                   DATE FILED: 3/15/2021

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------------------------------------- X
K&S PRODUCE INC.
                                                                         Index No. 1:20-CV-08786-GHW
                                   Plaintiff,
                                                                         DEFAULT JUDGMENT
                 -against-
                                                                         [Fed. R. Civ. P. 55 (b) (2)]
100 BROAD STREET, LLC a/k/a ESSEN FOOD,
ESSEN22 LLC a/k/a ESSEN FOOD, JOHN BYUN,
CHONG WON BYUN, and WILLIAM BYUN,
individually and in any corporate

                                    Defendants.
-------------------------------------------------------------------- X

        Upon consideration of Plaintiff’s motion for entry of a default judgment against the

Defendants 100 Broad Street, LLC a/k/a Essen Food, Essen22 LLC a/k/a Essen Food, John

Byun, Chong Won Byun, and William Byun, the Declaration of Timothy J. Fierst, Esq., dated

February 16, 2021, the Declaration of Lee Pakulsky dated February 16, 2021, and the exhibits

annexed thereto, the Memorandum In Support of Plaintiff’s Motion for Default Judgment

Against Defendants 100 Broad Street, LLC a/k/a Essen Food, Essen22 LLC a/k/a Essen Food,

John Byun, Chong Won Byun, and William Byun, and upon a hearing of the Plaintiff’s motion

being held on March 12, 2021 and hearing Timothy J. Fierst, Esq. in support of the motion and

there being no opposition thereto, and it appearing to the Court that the Defendants 100 Broad

Street, LLC a/k/a Essen Food, Essen22 LLC a/k/a Essen Food, John Byun, Chong Won Byun,

and William Byun have failed to plead or otherwise defend in this action; and that a principal



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balance in the amount of $511,877.67 is due to plaintiff K&S Produce Inc., and that Plaintiff has

the right to recover against Defendants 100 Broad Street, LLC a/k/a Essen Food, Essen22 LLC a/

k/a Essen Food, John Byun, Chong Won Byun, and William Byun, jointly and severally, pursuant

to Section 5(c) of the Perishable Agricultural Commodities Act, 7 U.S.C. §499(e)(a-c) (“PACA”),

it is hereby

        ORDERED, that Plaintiff’s motion for entry of a default judgment be, and the same is

hereby granted and it is further

        ORDERED, ADJUDGED AND DECREED, that judgment is hereby entered in favor of

Plaintiff, K&S PRODUCE INC., 22-19 160 Street, Whitestone, NY 11357, and against

100 BROAD STREET LLC a/k/a ESSEN FOOD, 100 Broad Street, New York, NY 10004, in

the amount of $184,580.50; in favor of Plaintiff K&S PRODUCE INC., 22-19 160 Street,

Whitestone, NY 11357, and against ESSEN22 LLC a/k/a ESSEN FOOD, 100 Broad Street, New

York, NY 10004, in the amount of $327,297.17; in favor of Plaintiff, K&S PRODUCE INC.,

22-19 160 Street, Whitestone, NY 11357 and against JOHN BYUN, 100 Broad Street, New

York, NY 10004, JOHN BYUN, 100 Broad Street, New York, NY 11357, CHON WON BYUN,

100 Broad Street, New York, NY 10004 and WILLIAM BYUN, 100 Broad Street, New York,

NY 10004 jointly and severally in the amount of $511,877.67; all together with post-judgment

interest at the default federal statutory rate set forth in 28 U.S.C. § 1961(a), from the date of entry

of this Judgment and Plaintiff have execution therefor, and it is further

               ORDERED, ADJUDGED AND DECREED that the stay imposed by Fed. R. Civ. P.

    62 (a) is hereby vacated, Plaintiff may immediately execute upon this judgment and the Clerk




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shall immediately issue an abstract of judgment upon Plaintiff’s proper application therefor.

       Plaintiff is directed to serve this judgment on Defendants.

       The Clerk of Court is directed to adjourn all deadlines, terminate all pending motions,

and close this case.
 SO ORDERED.
 Dated: March 15, 2021
 New York, New York
                                                    _____________________________________
                                                           GREGORY H. WOODS
                                                          United
                                                           nited States District Judge




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